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                        EXHIBIT 1
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                                         AGNIFILO
                                         INTRATER

                                           October 7, 2024

VIA EMAIL
AUSAs Johnson, Slavik, Smyser, Steiner, and Foster
United States Attorney’s Office
Southern District of New York
26 Federal Plaza
New York, New York 10278

        Re:     United States v. Combs, 24-cr-542 (AS)

Dear AUSAs Johnson, Slavik, Smyser, Steiner, and Foster:

       We write on behalf of our client, Mr. Sean Combs, regarding serious threats to his rights to
due process and a fair trial.

    1. The Government Must Identify Who – Out of the Many Pretend Victims – It
       Considers An Alleged Victim for Purposes of the Indictment

        The Indictment treats Mr. Combs’ sexual history over the past sixteen years, from 2008
through 2024, as part of an alleged vast criminal conspiracy. The government has claimed that
there are “multiple” victims, yet has not identified any. See ECF No. 15 at 3. Other than Victim-
1, there is no way for Mr. Combs to determine who these other unidentified alleged victims are.
Nor do we anticipate being able to ascertain the identity of the alleged victims from the discovery,
which we understand will reflect videos of unambiguously consensual sex. As a result, Mr. Combs
will be unable to tell which of his prior sexual partners now claim, years later, that they felt coerced.
The government is thus forcing him, unfairly, to play a guessing a game—one made all the more
challenging by the slew of baseless allegations that desperate plaintiffs are lodging at him (for the
most part anonymously) in opportunistic civil suits.

        To enable Mr. Combs to prepare for trial consistent with due process, the government must
provide greater particularity on the charges against him—specifically, the identity of the alleged
victims. See Fed. R. Crim. P. 7(f). In order for Mr. Combs to defend against the charges against
him effectively, it is imperative that he know the identity of the alleged victims. See United States
v. Davidoff, 845 F.2d 1151, 1154 (2d Cir. 1988) (explaining that, even in a RICO case, “the trial
judge exceeded his discretion . . . by denying a bill of particulars identifying at least the victims of
discrete . . . schemes that the prosecution intended to prove”). Accordingly, we demand that the
government provide the names of all individuals it considers to be victims of Mr. Combs’ alleged
criminal conduct.




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   2. The Government Must Immediately Produce the Substantial Amount of
      Exculpatory Material in its Possession

        We also demand materials and information pursuant to Rule 16 of the Federal Rules of
Criminal Procedure, Brady v. Maryland, 373 U.S. 83 (1963), and its progeny, Giglio v. United
States, 405 U.S. 105 (1972), and its progeny, the Fifth and Sixth Amendments to the United States
Constitution, U.S. Attorney Manual § 9-5.001, and the rules and orders promulgated by the Court
pursuant to Federal Rule of Criminal Procedure 5(f), ECF No. 14.

       We demand that you immediately turn over all exculpatory material in your possession,
including but not limited to the following:

   a. All information indicating that participation in the “Freak Offs” was consensual, including
      evidence and statements from alleged victims and other participants that (1) all participants
      were adults capable of deciding whether or not to participate; (2) to the extent any
      participants consumed drugs or alcohol, they did so voluntarily; (3) at no point did any
      participant express any unwillingness to participate; (4) to the extent any participant
      expressed unwillingness, they were not forced to participate.

   b. All information showing that the alleged victims and witnesses are lying, exaggerating, or
      are otherwise unreliable, including all information relating to the alleged victims’ financial,
      reputational, personal, or professional motivations to claim abuse.

   c. All information showing that, prior to the alleged victims’ motivation to lie, they were not
      afraid of Mr. Combs, and never reported, whether formally or informally, any instances of
      coercion, force, or abuse.

   d. All information showing that, to the extent there were any disputes between Mr. Combs
      and any alleged victims, those were disputes related to infidelity or other interpersonal
      matters, and not related to alleged force or coercion to participate in a sexual activity.

   e. All information relating to the government’s unsuccessful attempts to find corroborating
      information from local law enforcement, 911 records, hospital records, or any other
      contemporaneous reporting.

   f. All information relating to the government’s failure to fully investigate alleged victims,
      including failures to obtain the alleged victims’ phone records, email records, travel
      records, arrest records, medical records, drug abuse and rehabilitation records, draft
      memoirs, financial records, and attempts to commit extortion.

   g. All information relating to the government’s failure to fully investigate the alleged victims’
      agency and freedom during the alleged periods of coercion and abuse, including failures to
      investigate the alleged victims’ financial records, transportation records, employment
      records, and housing records.


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   h. All information regarding individuals who have claimed to be victims, but who have not
      been credited or corroborated by the government. Indeed, many of Mr. Combs' accusers
      have already been discredited. 1

   1.   All information relating to the leak of the hotel footage by law enforcement, including
        communications by and among government agents about the leak, internal investigations
        relating to the leak, and the identity of the HSI agent or agents who were responsible for
        the leak.

   J. All information suggesting that the decision to prosecute Mr. Combs was racially
      motivated, including information relating to the government's previous, unsuccessful
      attempts to investigate and prosecute Mr. Combs, and information relating to the
      government's decision to charge Mr. Combs with a racially-motivated and -discriminatory
      statute.

   k. Any information inconsistent with the facts asserted in the affidavits filed in connection
      with search warrants in this case includin


         We expect that your witness statements contain such material. If any such statements
contain any Brady material, they must be immediately produced notwithstanding the fact that they
may be otherwise governed by 18 U.S.C. § 3500. See United States v. Vzlar, No. 05 VR.62l(RJS),
2008 WL 2531195, at *l (S.D.N.Y. June 22, 2008) ("[I]t is well settled that Section 3500's bar on
early disclosure of witness statements must give way to the constitutional disclosure obligations
set forth in Brady and its progeny."). This request also specifically includes notes of conversations
and meetings with counsel for alleged victims and witnesses.

        We further request that you direct others acting on your behalf - including your agents,
witnesses, and alleged victims - to turn over this information that is in their possession. The
government cannot avoid its Brady obligations by sticking its head in the sand. See Kyles v.
Wh.itley, 514 U.S. 419, 437-38 (1995) (government has a duty to learn of any favorable evidence
"known to others acting in the government's behalf').



        For example, the attorneys for one plaintiff recently filed a Motion to Withdraw as Counsel
of Record, citing, among other things, "a fundamental disagreement" with plaintiff "regarding
almost every aspect of the litigation." Mem. of Law in Support of Mot. to Withdraw as Counsel
of Record at 6-7, English v. Combs et al., No. 24-cv-05090-AT (S.D.N.Y. Oct. 2, 2024).
Additionally, counsel for plaintiffs in four separate suits against Mr. Combs, Tyrone Blackbum,
was recently referred to this Court's Grievance Committee for engaging in a "pattern" of
"improperly fil[ing] cases in federal court to garner media attention, embarrass defendants with
salacious allegations, and pressure defendants to settle quickly." Zunzurovski v. Fisher, No. 23
Civ. 10881 , 2024 WL 1434076, at *5 (S.D.N.Y. Apr. 3, 2024).

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        The government cannot meet its ethical obligations by simply producing massive amounts
of electronic evidence without specifically pointing out exculpatory material. Given the volume
of discovery produced in this case – which apparently amounts to four terabytes of data – and the
breadth of the investigation, the government is obligated to specifically identify Brady material
among the discovery it plans to produce. See, e.g., United States v. Thomas, 981 F. Supp. 2d 229,
239 (S.D.N.Y. 2013) (“[T]he Government cannot hide Brady material as an exculpatory needle in
a haystack of discovery materials.”).

   3. The Government Should Direct Its Alleged Victims, Witnesses, and Prospective
      Victims and Witnesses to Refrain from Speaking to the Press

        As you are aware, Mr. Combs’ right to a fair and impartial jury is becoming increasingly
jeopardized every day. His case is being litigated in the press, largely by nameless accusers with
uncorroborated stories, who seek to capitalize on the government’s allegations and are looking for
a quick payday. Because Mr. Combs has no idea who the government is crediting as an alleged
victim for purposes of the criminal case, Local Rule 23.1 prevents him from defending himself
against any of these allegations, no matter how untrue.

        The government has an obligation to ensure that Mr. Combs receives a fair trial. This
obligation should, at a minimum, require the government to direct its agents, alleged victims, and
witnesses to refrain from speaking with the press. See Local Rule 23.1. This is particularly
warranted given the number of government leaks to date. It is also warranted in light of the alleged
victims’ deeply prejudicial allegations, to which Mr. Combs cannot respond, and which taint the
jury pool. The most recent allegations concerning abuse of minors is particularly troubling and
have the potential to irreversibly poison the jury pool. Under the circumstances, the government
cannot sit by and let such public disseminations interfere with Mr. Combs’ right to a fair trial.

        Thank you for your cooperation. If the government declines to specifically identify and
provide any of the information requested, or refuses to so advise its alleged victims and witnesses,
please advise us of the government’s objection so that we may promptly bring any such dispute to
the Court’s attention.

                                            Sincerely,



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